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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


M.Y.M., a Minor,
by and through his mother and
next friend Vilma Portillo,

        Plaintiff,

V.                                                    Civil Action No. 3:21cvl02


WILLIAM A. CHAVIS,

        Defendant.


                                 MEMORANDUM OPINION


        This   matter    is    before   the   Court    on   DEFENDANT'S    MOTION   FOR

SUMMARY JUDGMENT (EOF No. 21) (''the Motion").

        William Chavis is an Officer in the Chesterfield County Police

Department.        M.Y.M. is a minor and a resident of Chesterfield

County.        The Complaint, filed pursuant to 42 U.S.C. §§ 1983 and

1988,1 (ECF No. 1) alleges that Chavis used excessive force in

arresting       M.Y.M.    in    violation     of   the      Fourth   and   Fourteenth

Amendments to the United States Constitution (Count I) and Virginia

tort law (Count II).            M.Y.M. seeks damages and attorney fees.

        The Motion argues that Chavis is entitled to summary judgment

under the doctrine of qualified immunity because his actions did




1 42 U.S.C. § 1983 provides no substantive basis                      for a claim.
Instead, it permits the filing in federal court                       of an action
seeking redress of the violation of federal                           statutory or
constitutional rights by a person acting under color                   of state law.
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not violate the Constitution and because applicable case law did

not clearly establish that his use of force was unconstitutional.

     The parties contest whether Chavis intentionally threw M.Y.M.

to the ground or whether Chavis and M.Y.M. unintentionally slipped

to the ground while Chavis was trying to handcuff M.Y.M.                Chavis

argues that, even if he did intentionally throw M.Y.M. to the

ground, that would not constitute excessive force in violation of

the Fourth Amendment's prohibition of unreasonable seizures, while

M.Y.M. argues that the degree of force used by Chavis is clearly

established to be unconstitutional.


     Having   considered     the    parties'    briefing,    footage    of    the

incident recorded by Chavis's body camera, depositions of both of

the parties, the arguments made at the hearing, and the relevant

case law, the Court concludes there are genuine issues as to

whether Chavis intentionally threw M.Y.M. to the ground and that,

if a jury were to so find, the right to be free from such force on

the facts of this record was clearly established.             Therefore, and

for the reasons explained below, the Motion will be denied.

                           FACTUAL BACKGROUND


     The events at issue in this case occurred on October 27, 2020,

when Officer Chavis saw M.Y.M., then 15 years old, walking along

Whitepine   Road   through    the    Harry     G.   Daniel   Public    Park   in

Chesterfield County, Virginia shortly after midnight, well after

the park was closed for the day.        ECF No. 22-3 at 10.      The factual
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claims set forth by both parties in their pleadings and memoranda

are supplemented by footage from Officer Chavis's body camera and

by the deposition testimony of Chavis and M.Y.M.

     According to Chavis's deposition, he initially drove past

M.Y.M., who was walking alone along the portion of Whitepine Road

that passes through the park after the park was closed and after

curfew.     As Chavis explained in his deposition, "'The first thing

that drew my attention was just that there was a person in the

park, period . . . there were no other people in the park.                The

park was supposed to be closed."           ECF No. 22-3 at 10.         Chavis

further explained in his deposition that he suspected that M.Y.M.

was a juvenile based on 'Mh]is size."         Id. at 13.

     Chavis    was   alone   on   patrol   that   night,   as   was   standard

practice.     ECF No. 22-3 at 9.     He knew that backup was available

but did not know precisely how long it would take backup to arrive

if summoned.    Id. at 13.


     After noticing and passing M.Y.M. on the side of the road,

Chavis turned and drove up to M.Y.M. from behind, at the same time

turning on the emergency lights on his police cruiser. At this

point, Chavis activated his body camera and walked over to the

grassy area on the side of the road where M.Y.M. was ^^squatting."

Id. at 14.
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     Chavis    spoke    to   M.Y.M. "to   determine   what   [his]   (i.e.,

Chavis's) next steps would be."           Id.   Their initial dialogue,

transcribed from the body camera footage, is as follows:

     Chavis:     How did you get out here?

     M.Y.M.:     I was at a friend's house.


     Chavis:     Okay. Does mom and dad know where you are?

     M.Y.M.:     They have my address but they're probably asleep
                 right now [unintelligible]

     Chavis:     Okay, but how are you going to get there?
                 Obviously walk?

     M.Y.M.:     [Unintelligible] . . . I can't fly, can I?

     Chavis:     Huh?


     M.Y.M.:     I can't fly, can I?

     Chavis:     You can't fly?      Okay, stand on up for me, okay?

                 [M.Y.M. stands]

     Chavis:     Put your hands behind your back for me for one
                 second, okay?

     M.Y.M.:     Why?

     Chavis:     Because I'm asking you to.

     As M.Y.M. asks Chavis "why?," M.Y.M.'s right hand, which is

visible holding his phone at about chest height, lowers out of

sight.   Within approximately two seconds of his response to M.Y.M.

("because I'm asking you to"), Chavis can be seen (at the 0:55

mark) pulling on M.Y.M.'s arm.       As M.Y.M. stumbles he says "you're

trying to hurt me."          What happens next is difficult to follow.
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M.Y.M. is visible with his right arm being held by Chavis and his

left hand at his side.         His body is leaning away from Chavis at

the 0:58 mark, apparently stumbling as he and Chavis each rotate

clockwise.     M.Y.M. then straightens up and says, "I ain't do

nothing, I ain't do nothing."            At the same time, Chavis begins

repeating the command ^^get on the ground," saying it a total of

four times in the next three seconds.              As he repeats it, there is

a brief glimpse of M.Y.M. with both of his hands behind his back,

though it is unclear at that point whether Chavis is holding both

of M.Y.M.'s hands or only his right hand.              The screen is then dark

for a moment.      In the next visible frame, it is apparent from the

camera angle that Chavis is lying horizontally on the ground.                    He

then moves on top of M.Y.M. to handcuff him, straddling him while

M.Y.M. is lying on his stomach.                A later medical examination

revealed    that   M.Y.M.    suffered    a    broken   collar     bone   from   the

incident.


     The parties give different accounts of the exact way that

M.Y.M. ended up on the ground.                Chavis's deposition adds some

details to what can be discerned in the video.               Chavis says that,

as the handcuffing process began, M.Y.M. '''start[ed] to stiffen and

lock his arms up," which Chavis took to [indicate] . . . that he

was going to resist further."            Id. at 47.      Chavis describes the

handcuffing process as proceeding through the sequence of the "law

enforcement    grasp,"      attempting       but   failing   to   implement     the
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^^twist-lock," and finally wrapping both his arms around M.Y.M. to

attempt to bring him to the ground.

     Chavis    describes    the    law       enforcement   grasp   as ''gripping

around his right wrist and elbow to actually move his arm behind

his back."    EC No. 22-3 at 17.         According to Chavis, when the law

enforcement grasp is unsuccessful in immobilizing a detainee, he

would ordinarily proceed to implement the twist-lock.                The twist-

lock is described as follows:


     [W]hen you attempt the law enforcement grasp, if the person
     pulls away from you there's a way . . . that you hold onto
     their    hand   and   twist   in    a    fashion   that   creates   pressure
     throughout. It's pain compliance is what it is through the
     joints, through the wrist, the elbow, up into the shoulder
     that is supposed to cause the person to then be more likely
     to comply with you. I was going to attempt that. At no point
     was I able to successfully utilize it, but I was going to
     attempt it. Id. at 18.^

When asked if he had any intention of ending up on the ground

himself, Chavis answered, "absolutely not."                Id. at 50.    He later

added, "The goal is never to be on the ground with a suspect.                  If

that's what's happened then something has gone wrong . . . ."                 Id.

at 50.   Chavis further explained that, because he was unable to

get M.Y.M. to the ground, his plan was then "to pull [M.Y.M.] in

and bear hug him . . . to try to kind of hold him and calm him and



2 Later in his deposition, Chavis again says that he "was not able
to gain any kind of control over [M.Y.M.'s] hand or wrist to even
be able to initiate [the twist-lock technique]." ECF No. 22-3 at
47.   Chavis's memorandum in support of his Motion says that he
"considered using a 'twist-lock' technique . . . [but] was not
able to use [it] due to Plaintiff's resistance." ECF No. 22 at 5.
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get him to the ground."           Id. at 59.          Chavis then states that he

■^^eventually [got] an arm around" M.Y.M. .                 Id.    But in describing

how he and M.Y.M. came to be on the ground, Chavis stated that ''We

didn't throw at all.         We fell."     Id.   at   63.

      At     the   hearing   on   the    Motion,      Chavis's      counsel      repeated

Chavis's claim that his intent had not been himself to end up on

the ground with M.Y.M. but instead to wrap M.Y.M. in a "bear hug"

and   then    to   put   M.Y.M.   on    the   ground.         Counsel     then    further

asserted that it was "clear from the footage" that that was what

happened,     and that they "slipped and fell" to the ground.                         But

Chavis's counsel did not dispute that Chavis had intended to "take"

M.Y.M. to the ground.         When asked how, from the position of a bear

hug, Chavis would have put M.Y.M. on the ground without himself

ending up on the ground, Chavis's counsel visually demonstrated.

When asked if the motion she demonstrated was a throwing motion,

Chavis's counsel         replied "It could be called throwing,                    taking.

We're okay with any of those              terms."           Likewise,    the brief     in

support of the Motion appears ambiguous as to the question of

whether      Chavis   actually    did    throw     M.Y.M. :       "the   minimal    force

[Chavis] used to counter Plaintiff's physical resistance and gain

control of the situation by taking Plaintiff to the ground to be
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handcuffed did not violate Plaintiff's clearly established Fourth

Amendment right."     ECF No. 22 at 1.^

     M.Y.M. at many points during his deposition professes to lack

a clear memory of the events.''      But he nevertheless recalls some

details of the incident.        In his deposition testimony, M.Y.M.

describes    Chavis    as    thr[owing]     [him]    over    his,    like,

shoulder . . . [and] land[ing] on top of [M.Y.M.]."          ECF No. 22-2

at 74.   Later, when asked how Chavis got him to the ground, M.Y.M.

responded: "He threw me."     Id. at 77.    He uses similar language a

final time toward the end of the deposition, stating that "[Chavis]

threw    me over him I guess or something like that . . . he threw

me — threw me face-first."        ECF No. 22-2 at 108.      This is also

the language that M.Y.M. uses in the body camera footage at the

1:41 mark, immediately after he has been taken to the ground, as

Chavis is handcuffing him.      M.Y.M. says to Chavis, "I don't know

why you had to throw me.     I'm not trying to fight you."



3 Were it the case that Chavis and M.Y.M. simply slipped as Chavis
was trying to handcuff M.Y.M., it is not clear that that would
constitute any force at all, even "minimal" force. This language
is thus ambiguous as to whether it is conceding that Chavis did
intentionally use some amount of force to throw M.Y.M. to the
ground or if the brief is instead describing a loss of balance as
the application of "minimal force."

  It bears mentioning that M.Y.M. was deposed first, with Officer
Chavis present at the deposition. ECF No. 22-2 at 3. M.Y.M. gave
his deposition testimony without having seen Chavis's body camera
video.   ECF No. 22-2 at 68.   Chavis's deposition was taken the
next day, in the course of which he sometimes answers questions
with reference to the answers given by M.Y.M.
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   THE DOCTRINE OF QUALIFIED IMMUNITY AND STANDARD OF REVIEW

     As applied today, the doctrine of qualified immunity was

defined by the Supreme Court of the United States in Harlow v.

Fitzgerald, 457 U.S. 800 (1982).^           In Harlow, the Court began its

discussion by observing that:

     our decisions consistently upheld that government
     officials are entitled to some form of immunity from
     suits for damages.      As recognized at common law, public
     officers require this protection to shield from undue
     interference with their duties            and    from   potentially
     disabling threats of liability.

Id. at 806 (emphasis added).

     Although the petitioners in Harlow sought absolute immunity

and a so-called special immunity, the Supreme Court rejected

application   of   that    level    of   immunity     for    those   particular

defendants.     However,    the     Court    agreed   that    the    concept   of

qualified immunity was available to the defendants.              In explaining

the concept of qualified immunity, the Supreme Court observed:

              it   cannot   be     disputed   seriously      that    claims
     frequently run against the innocent as well as the guilty
     - at a cost not only to the defendant officials, but to
     society as a whole. These social costs include expenses
     of litigation, the diversion of official energy from
     pressing public issues, and the deterrence of able
     citizens from acceptance of public office.       Finally
     there is the danger that the fear of being sued will
     'dampen the ardor of all but the most resolute, or the
     most irresponsible [public officials] in the unflinching
     discharge of their duties.'




5 Harlow is a companion case to Nixon v. Fitzgerald, 457 U.S. 731
(1982).
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Harlow v. Fitzgerald/ 457 U.S. at 814 (emphasis added).

      Though Harlow was nominally a case about the immunity extended

to officials in the Executive Branch, the majority opinion included

a footnote that suggested that the qualified immunity described

would apply much more broadly:

      This case involves no issue concerning the elements of the
      immunity available to state officials sued for constitutional
      violations under 42 U.S.C. § 1983. We have found previously,
      however, that it would be ^untenable to draw a distinction
      for purposes of immunity law between suits brought against
      state officials under § 1983 and suits brought directly under
      the Constitution against federal officials.'

457 U.S. at 818 n.30 (quoting Butz v. Economou, 438 U.S. 478, 504

(1978)).       The    Supreme    Court    soon   confirmed    the     footnote's

implications.        Less than a month after Harlow was decided, the

Court vacated a Sixth Circuit opinion that had affirmed a district

court's denial of summary judgment to state parole officers against

a § 1983 claim.       Wolfel v. Sanborn, 666 F.2d 1005 (6th Cir. 1981).

The    order    vacating        the    lower     court's     ruling     directed

reconsideration in light of Harlow and the quoted passage in Butz,

thus making clear Harlow's application to state officials in § 1983

cases.     Sanborn v. Wolfel, 458 U.S. 1102 (1982).

      The doctrine of qualified immunity ^^shields officers from

civil liability so long as their conduct Moes not violate clearly

established     statutory       or    constitutional   rights    of     which   a

reasonable person would have known.'"             City of Talequah v. Bond,

595 U.S.       ,         (slip op. at 3) (2021) (quoting Pearson v.

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Callhan, 555 U.S. 223, 231 (2009)).           It protects '^all but the

plainly incompetent or those who knowingly violate the law," id.

(cleaned up),     and balances the interests of ''hold[ing] public

officials accountable when they exercise power irresponsibly" and

''shield[ing] officials from harassment, distraction, and liability

when they perform their duties reasonably," giving them "breathing

room to make reasonable but mistaken judgments."            Smith v. Ray,

781 F.3d 95, 100 (4th Cir. 2015) (internal quotations marks and

citations omitted).

     A qualified immunity analysis follows a two-step procedure:

determining "whether a       constitutional    violation   occurred" and

whether "the right violated was clearly established."            Booker v.

S.C. Dep^t of Corrs., 855 F.3d 533, 538 (4th Cir. 2017) (quoting

Melqar v. Green, 593 F.3d 348, 353 (4th Cir. 2010)).                At the

summary judgment stage, a court analyzing the first prong must

specifically decide whether, "[t]aken in the light most favorable

to the party asserting the injury, . . . the facts alleged show

the officer's conduct violated a constitutional right."            Saucier

V. Katz, 533 U.S. 194, 201 (2001).         In answering this question,

all reasonable inferences must be drawn on behalf of the nonmoving

party.   Gordon v. Kidd, 971 F.2d 1087, 1094 (4th Cir. 1992).

     A court may consider the two prongs of the analysis in either

order.   Pearson, 555 U.S. at 236.       The plaintiff bears the burden

of proving the violation of a right and the defendant bears the

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burden of proving that the right in question was not clearly

established.       Mays v. Sprinkle, 992 F.3d 295, 302 n.5 (4th Cir.

2021).

I.    Legal Standard for Excessive Force

      In Graham v. Connor, the Supreme Court of the United States

decided "'what constitutional standard governs a free citizen's

claim that law enforcement officials used excessive force in the

course of making an arrest, investigatory stop, or other ^seizure'

of his person."        490 U.S. 386, 388 (1989).             In so doing, the

Supreme Court held that:

      Where, as here, the excessive force claim arises in the
      context of an arrest or investigatory stop of a free
      citizen, it is most properly characterized as one
      invoking the protections of the Fourth Amendment, which
      guarantees citizens the right ^to be secure in their
      person . . . against unreasonable . . . seizures' of the
      person.


Id.   at   396.®      The   Supreme    Court    went    on   to   explain   that

^Md]etermining      whether the   force      used    to effect a     particular

seizure is      ^reasonable'   under   the     Fourth   Amendment   requires   a

careful balancing of ^the nature and quality of the intrusion on

the   individual's      Fourth    Amendment         interests'    against    the

countervailing Governmental interests at state."                    Id.   at 396



® The Supreme Court further stated that ^^all claims that law
enforcement officers had use excessive force - deadly or not - in
the course of an arrest, investigatory stop, or other ^seizure' of
a free citizen should be analyzed under the Fourth Amendment and
its  ^reasonable' standard rather than under a                ^substantive due
process' approach." Id.
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(citations omitted).      Then, the Supreme Court reminded courts that

 [our] Fourth Amendment jurisprudence has long recognized that the

right to make an arrest or an investigatory stop necessarily

carries with it the right to use some degree of physical coercion

or threat thereof to effect it."             Id. at 396 (citations omitted).

And, applying the Fourth Amendment test of reasonableness

      ^^reguires  careful   attention    to   the   facts   and
      circumstances of each particular case, including the
      severity of the crime at issue, whether the suspect poses
      an immediate threat to the safety of the officer or
      others, and whether he is actively resisting arrest or
      attempting to evade arrest by flight."

Id.   That determination (i.e., the reasonableness of a particular

use of force) must be ''judged from the perspective of a reasonable

officer   on    the   scene,   rather   than     with   the   20/20    vision   of

hindsight."     And a court's assessment must be made in perspective

of the instructions that: (1) "'[n]ot every push or shove, even if

it may later seem unnecessary in the peace of a judge's chambers,'

. . . violates the Fourth Amendment;" and (2) "[t]he calculus of

reasonableness must embody allowance for the fact that police

officers are often forced to make split-second judgments - in

circumstances that are tense, uncertain, and rapidly evolving -

about   the    amount of force     that is       necessary    in   a   particular

situation."     Id. at 397 (internal citations omitted).                 Finally,

the Supreme Court made clear that the reasonableness inquiiry in a




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case involving excessive force is an objective one; and on that

point, the Court instructed that:

     The question is whether the officer's actions are
     ^objectively reasonable' in light of the facts and
     circumstances confronting them, without regard to their
     underlying intent or motivation.    (internal citations
     omitted). An officer's evil intentions will not make a
     Fourth  Amendment violation out of an      objectively
     reasonable use of force; nor will an officer's good
     intentions   make  an   objectively   use   of   force
     constitutional.    (citations omitted).

Id. at 396-397.


     The issue is, "ultimately, . . . ^whether the totality of the

circumstances justifie[s] a particular sort of . . . seizure'."

Smith V. Ray, 781 F.3d 95, 101 (4th Cir. 2015) (quoting Tennessee

V. Garner, 471 U.S. 1, 8-9 (1985)). The Fourth Circuit has further

elaborated that "[a]n inquiry into any predisposition for force on

the part of [the Officer] is an improper mode of analysis for a

Fourth Amendment excessive force claim."          Peqg v. Herrnberger,

845 F.3d 112, 120 (2017).     Finally, courts are cautioned to avoid

"artificial divisions in the sequence of events," because they "do

not aid a court's evaluation of objective reasonableness."         Smith,

781 F.3d at 101 (quoting Waterman v. Batton, 393 F.3d 471 (4th

Cir. 2005)).

     The factors to be applied are "the severity of the crime at

issue, whether the suspect poses an immediate threat to the safety

of the officers or others, and whether he is actively resisting

arrest or attempting to evade arrest by flight."        Graham, 490 U.S.

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at    396.    Though   these   factors      are   to   be   assessed      from    the

perspective of the police officer, the Court must determine the

appropriate     perspective    for    an    objectively         reasonable    police

officer.     Graham, 490 U.S. at 397.

       The Fourth Circuit has also stated that the severity of injury

a plaintiff suffered is relevant to an excessive force analysis in

addition to the Graham factors.            See Lawhon v. Mayes, No. 20-1906,

2021 WL 5294931 (4th Cir. Nov 15, 2021) (''In addition to applying

the Graham factors, we also take into account the severity of the

injuries in our determination of whether officers used excessive

force.") (citing Jones v. Buchanan, 325 F.3d 520, 527 (4th Cir.

2003)).

II.    Whether a Right Was Clearly Established

       Qualified immunity is meant in part to "protect[] officers

who commit constitutional violations but who, in light of clearly

established law, could reasonably believe that their actions were

lawful."     Henry v. Purnell, 652 F.3d 524, 531 (4th Cir. 2011).                  To

be    clearly   established,    the    contours        of   a     right   "must    be

sufficiently clear [such] that a reasonable official would [have]

underst[ood] that what he is doing violates that right."                     Owens v.

Baltimore City Staters Atty^s Office, 767 F.3d 379, 398 (4th Cir.

2014).

       The Supreme Court has "not yet decided what precedents—other

than [their] own—qualify as controlling authority for purposes of

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qualified immunity."      District of Columbia v. Wesby, 583 U.S

   , 138 S. Ct. 577, 591 n.8 (2018).           In the absence of definitive

guidance on this issue from the Supreme Court, the Fourth Circuit

has stated:


     In conducting the clearly established analysis, we first
     examine   cases   of   controlling   authority    in   [this]
     jurisdiction--that is, decisions of the Supreme Court, this
     court of appeals, and the highest court of the state in which
     the case arose. We ordinarily need not look any further than
     decisions from those courts.


Booker v. S.C. Dep't of Corr., 855 F.3d 533, 538-39                  {4th Cir.

2017); see also Ray v. Roane, 948 F.3d 222 (4th Cir. 2020) (^^[T]o

determine whether a right was clearly established we first look to

cases from the Supreme Court, this Court, or the highest court of

the state in which the action arose.").                 Of course, ''[i]n the

absence of 'directly on-point, binding authority,' courts may also

consider     whether   'the   right    was   clearly established         based   on

general constitutional principles or a consensus of persuasive

authority.'"     Id. at 229 (citing Booker v. S.C. Dep't of Corr.,

855 F.3d at 543).

     In    determining    whether     the    law   in   question   was    clearly

established for purposes of carrying out a qualified immunity

analysis, courts are instructed "not to define clearly established

law at a high level of generality."                Id. at 742.     For example,

"that   an   unreasonable     search    or   seizure    violates    the    Fourth


Amendment is of little help in determining whether the violative



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nature   of    particular     conduct     is   clearly   established."     Id.

Qualified     immunity     thus   gives    state   actors,   including   police

officers,     "breathing      room   to    make    reasonable    but   mistaken

judgments about open legal questions."             Id. at 743.

     The Supreme Court has further explained that, for purposes of

qualified immunity analyses, a rule's contours "must be so well

defined that it is clear to a reasonable officer that his conduct


was unlawful in the situation he confronted."             City of Talequah v.

Bond, 595 U.S.         ,       (slip op. at 3) (2021) (cleaned up).          In

resolving     this   issue,   a court must ask        whether "a reasonable

officer could miss the connection between that case and this one."


Id. at        (slip op. at 5)

     The Supreme Court has also "stressed the need to 'identify a

case where an officer acting under similar circumstances . . . was

held to have violated the Fourth Amendment.'" Wesby, 583 U.S. at

590 (quoting White v. Pauly, 137 S. Ct. 548, 552 (2017)).                   But

this does not require that there be a case "directly on point,"

Ashcroft V. al-Kidd, 563 U.S. 731, 741 (2011); it requires instead




  Thus, it is also true that "general statements of the law are
not inherently incapable of giving fair and clear warning" and
that "a general constitutional rule already identified in the
decisional law may apply with obvious clarity to the specific
conduct in question, even though the very action in question has
[not] previously been held unlawful."   Hope v. Pelzer, 536 U.S.
730, 740-41 (2002) (quoting Anderson v. Creighton, 483 U.S. 635,
640-41 (1987)).

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that the relevant constitutional or statutoiiy question be "beyond

debate."   Id.


                                 DISCUSSION


      Chavis's Motion will be denied because, his arguments to the

contrary, he has not shown that that there is no dispute as to

materially relevant facts respecting the conduct that is alleged

to constitute excessive force.         Put another way, if the facts are

viewed in the light most favorable to M.Y.M., with all permissible

inferences drawn in his favor, a reasonable juror could conclude

that Chavis used a constitutionally unreasonable degree of force

in bringing M.Y.M. to the ground.            Summary judgment in Chavis's

favor is therefore inappropriate.

      Both parties in this case are inconsistent in the accounts

that they give of what happened during the seconds when Chavis's

body camera footage is partially or fully obscured.                         Chavis's

analysis of the factual issues in the memorandum submitted in

support    of    the    Motion   and   at    the    hearing      on   the    Motion

misapprehends the record, omits mention of information contrary to

Chavis's interest, and is filled            with bald assertions that are

plausible only if virtually every possible inference is made in

Chavis's favor.        While Chavis's account of the events may be true,

and   while at least some versions of his account do indeed clear


Chavis    of    any    unconstitutional     use    of   force,    inferences     or

assumptions in Chavis's favor are inapplicable at the summary

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judgment stage, where all doubts and ambiguities must be resolved

in favor of M.Y.M as the nonmoving party.®           Chavis's arguments are

thus unavailing.

     The test for use of force set out by the Supreme Court in

Graham requires that a court consider             [1] the severity of the

crime at issue, [2] whether the suspect poses an immediate threat

to the safety of the officer or others, and [3] whether the suspect

is actively resisting arrest or attempting to evade arrest by

flight."    480 U.S. 386, 396 (1989).       The application of the Graham

factors to this case depends crucially on what version of events

a finder of fact accepts.        Summary judgment will therefore not be

granted because of the substantial factual disagreements between

M.Y.M. and Chavis.


I.   Severity of Crime at Issue

     The    underlying     offenses   at    issue    in    this   case--curfew

violation        and   trespassing    in    the     park    after    dark--are

unquestionably minor, both being misdemeanors.             At his deposition,

Chavis     was    asked,   in   reference   to    the   Chesterfield   Police



® This does not preclude the Court from following the very clear
directive to make such inferences as would be reasonable for an
objectively reasonable officer in Chavis's position to make. For
example, the parties dispute whether Chavis threw M.Y.M. to the
ground. The summary judgment standard requires accepting M.Y.M.'s
claims as true and making inferences in favor of M.Y.M.'s account.
The parties also dispute whether M.Y.M. was trying to evade arrest.
Here, inference in Chavis's favor may be permissible if the Court
were to find that an objectively reasonable officer in Chavis's
position could reasonably infer that M.Y.M. was attempting to flee.

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Department's use of force policy, which broadly mirrors the Graham

factors:        "What about the crime at issue here did you factor

in . . . about whether or not force should be used?"                 ECF No. 22-


3 at 60.    Chavis responded:         "Before I put my hands on him I would

say the severity was very low.           Once he starts to actively resist

me and pull away I would say the severity is quite high . . . ."

Id.     Because resistance is a separate factor in the Graham test,

however, it should not itself be factored into the analysis of the

severity of the offense with which the officer is confronted in

the first instance.


      As the Fourth Circuit stated in Smith v.Ray, in turn comparing

that case to Rowland, "this nonviolent misdemeanor offense was not

of the type that would give an officer any reason to believe that

[the defendant] was a potentially dangerous individual."                 781 F.3d

at 102; see also Henry v. Purnell, 652 F.3d 524, 532 (4th Cir.

2011) (en banc) ("[T]his case presents nothing to suggest Henry

posed any threat whatsoever--no menacing conduct and no violent

criminal history . . . a reasonable officer in these circumstances

would    have    had   no   grounds    for    believing   Henry    was   armed   or

dangerous.").      While it is true that Chavis did not at that point

know whether M.Y.M. had a violent criminal history, nothing about

M.Y.M.'s    commission      of   the    trespass    and   curfew    misdemeanors

indicated that he was a threat to Chavis's safety.




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II.   Whether Suspect Poses an Immediate Threat

      The essential public service       provided   by police officers

carries substantial risks to their lives and safety.          The Graham

analysis therefore takes into account "whether the suspect poses

an immediate     threat to the safety of the officer or others."

Graham, 480 U.S. at 396 (emphasis added).      The immediacy and nature

of any threat is highly pertinent to determining the need for the

use of force and the kind of force that can be used.


      However, the Fourth Circuit has made clear that an officer

cannot simply treat everyone as an equally grave threat to officer

safety simply because of the abstract possibility that a person

could be armed, or dangerous in some other way.       Thus, for example,

in Smith, the Court of Appeals noted that the officer was "a pretty

good size man," in the plaintiff's words, while the plaintiff was

"a smaller woman."    Id.   Additionally, the officer "did not have

any reason to believe that [the plaintiff] was armed" and the

plaintiff had "given no indication that she was at all inclined to

cause [the officer] any harm or that she had any capacity to do so

. . . ."   Id.


      At the time the events took place, Chavis stood 5'11" and

weighed 180-190 pounds.     Chavis is trained in karate (third-degree

black belt) and Brazilian jujutsu (blue belt).        ECF No. 22-3 at 7.

M.Y.M. was 5'4-5" tall and weighed 115 pounds.          ECF No. 22-2 at

138-39.    In his deposition, Chavis makes several reference to

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concerns for ''officer safety."®     And, indeed, courts are instructed

to remain highly cognizant of the fact that police officers have

dangerous jobs, often having to make difficult judgment calls with

little or no warning. See, e.g., Rowland v. Perry, 41 F.3d 167,

172 (4th Cir. 1994) ("The concerns behind the immunity defense are

especially salient in the context of street-level police work,

which frequently requires quick and decisive action."). But Fourth

Circuit case law makes clear that a reasonable officer could and


ought to take into account the 6-7 inch difference in height and

the 70-pound difference in weight, as well as Chavis's substantial

martial arts training.        Moreover, nothing else in the record

bespeaks a safety risk; and, indeed, Chavis chose to confront

M.Y.M.   without   calling   for    backup.   By   the   standard   clearly

established in Smith, the second Graham factor tells against the

reasonableness of Chavis's use of force.


     According to Chavis's deposition testimony, as he approached

M.Y.M., M.Y.M. switched his position from standing to squatting

down.    ECF No. 22-3 at 14.       Chavis chose to have M.Y.M. stand up

off the ground only after M.Y.M.'s sarcastic response to him ("Well

I can't fly, can I?").    It was at that point that Chavis instructed

M.Y.M. to stand because he intended to detain him.         Id. at 15.    As


Chavis explained this decision:




® ECF No. 22-3 at 16, 23, 40, 41, 48, 50, 60

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       His demeanor, his statement, his tone to me suggested to me
       and considering the totality of the circumstances as to what
       I was dealing with that I had someone who was disrespectful.
       It didn't anger me, but in considering that with all of the
       many factors it indicated to me that there was a higher
       likelihood that he would be combative with me or try to run,
       and I felt for my safety it was better to put him in handcuffs
       so he was at a lesser risk for both himself and for
       myself.

Id. at 16. At the hearing, Chavis's counsel characterized M.Y.M.'s

sarcastic response as being "noncooperative."                 While acknowledging

that a sarcastic response does not in itself justify arrest,

Chavis's counsel nonetheless argued that it justified Chavis in

thinking M.Y.M. to be a danger.                 But see Smith, 781 F.3d at 98

(denying qualified immunity even where arrestee "pull[ed] away"

from    officer       and   "call[ed]   [him] . . .       a   n***r.").      Nor   is

disrespectful conduct of the sort shown here, standing alone, a

basis for using force.            Thus, even though Chavis invoked M.Y.M.'s

disrespect       as    a    reason   for     believing     that   officer    safety

necessitated force, on this record, that is a fact question for a

jury to determine.

       Additionally, Fourth Circuit case law is clear that an officer

cannot justify the use of force with the fear that a suspect may

be armed where the officer can cite to no reason for thinking the

detainee to be armed.         In Smith, for example, the detainee actually

was armed with a knife, but because she did not reach for it, and

the officer did not notice it until the interaction was over, it

could    not   be     used   to    justify      the   officer's   behavior   as    an

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objectively reasonable response.           Id. at 104-05.     The Smith court

then goes on to collect cases giving examples of the kind of

positive evidence an officer ought to have in order reasonably to

draw the conclusion that the suspect may be armed.                Id.   In other

words, an officer must have some actual reason for regarding a

suspect as potentially armed and dangerous.               Chavis makes no such

factual showing here.

     The objective test for Fourth Amendment violations means that

neither the Court nor the jury is to judge the lawfulness of

Officer Chavis's conduct with reference to the perception that his

decision to arrest M.Y.M. and his use of force against M.Y.M. were

the result of irritation because of M.Y.M.'s sarcastic response to

his question.    So long as Chavis had cause to arrest M.Y.M., which

he did because of the misdemeanor charges, the Court is not to

inquire further as to Chavis's subjective motivations for choosing

to detain and arrest M.Y.M.           See Pegg v. Herrnberger, 845 F.3d

112, 119 (4th Cir. 2017) (''The proper focus of the inquiry is not

any subjective reason for arresting Pegg, but only the objective

facts surrounding the arrest.").

     But   in   viewing   all   the   facts    of   the    case   and   Chavis's

argument, the Court can, and, indeed, must consider whether, absent

any such irritation, a reasonable officer would have reason to

treat M.Y.M. as presumptively dangerous.            A jury could find that

a reasonable officer--one not irritated by M.Y.M.'s sarcasm--would

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not have regarded M.Y.M. as presumptively dangerous.                     for

his part, makes precisely this claim:             that Chavis decided to

handcuff him only because he was angered by M.Y.M.'s sarcastic

response.    ECF No. 22-2 at 87.       While that does not factor into

the reasonableness of Chavis's decision to arrest M.Y.M., which

was clearly within his discretion, it does cast doubt on Chavis's

claim that he reasonably viewed M.Y.M. as a threat to his safety.

A juror could consider, as evidence on this factor, the facts that:

(1) M.Y.M. did not in any way physically threaten Chavis or make

suspicious movements that might have indicated that he was armed

or otherwise dangerous; (2) Chavis chose to have M.Y.M. stand to

be handcuffed then rather than waiting for backup; and (3) Chavis

knew that M.Y.M. was a minor and that he had a substantial physical

advantage   over   M.Y.M.     Taking     all   these   considerations    into

account, a reasonable juror could find that the evidence as to the

second Graham factor augurs strongly against the use of force.

III. Whether the    Suspect is   Actively          Resisting    Arrest    or
     Attempting to Evade Arrest by Flight

     At the hearing, Chavis's counsel claimed that there is "no

question" that M.Y.M. was attempting to evade arrest by flight and

repeatedly claimed that M.Y.M. was trying to pull free in order to

run away from Chavis.       But the record does not contain evidence

that supports that claim.       Indeed, Chavis's counsel acknowledged

as much, arguing only that it can be inferred from the positioning



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of M.Y.M.'s body in the video:                the attorney pointed out,

can be seen with his body oriented to the west, in the direction

where Whitepine Road leads out of the nearer of two exits out of

the park.   But this is precisely the sort of inference in favor of

the moving party that the Court cannot make at the summary judgment

stage. Realizing this, Chavis's counsel then argued that the Court

could draw this inference in ascertaining what a reasonable police

officer in Chavis's position might conclude.

     In support of that argument, Chavis's counsel claimed that

M.Y.M. was continuously pulling away from Chavis, disregarding his

command to put his hands behind his back, and disregarding his

command to get on the ground, and that these facts could lead an

objectively   reasonable    officer     to   conclude   that   M.Y.M.   was

attempting to evade arrest by flight.        Similarly, in his brief in

support of summary judgment, Chavis argues that "[a]t no point

until after both Plaintiff and Officer Chavis were on the ground

did Plaintiff comply with Officer Chavis' lawful orders."          ECF No.

22 at 15.   But that view is not borne out by the record.

     To the contrary, when Chavis first saw M.Y.M., he was walking;

and, when Chavis turned his emergency lights on and approached,

M.Y.M. stopped walking and then squatted down in place.            In the

body camera footage, M.Y.M. clearly and truthfully answers each of

Chavis's first two questions.     Even M.Y.M.'s sarcastic response to

Chavis's question as to how he would get home (''how are you going

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to get there? Obviously walk?") itself conveyed an answer to the

question, albeit impolitely.          When Chavis told M.Y.M. to put his

hands behind his back, M.Y.M, first asked "why?" but then, after

Chavis replied, "because I'm asking you to," M.Y.M. claims to have

begun to comply by putting his right hand behind his back, only

for   Chavis   to   seize   and   twist    M.Y.M.'s   arm   before   he   had   the


opportunity fully to comply.         ECF No. 22-2 at 92.

      In the body camera footage, when Chavis tells M.Y.M. to put

his hands behind his back, M.Y.M.'s right hand, visible in the

frame holding a phone, immediately drops down and out of sight.                  A

reasonable juror could conclude that M.Y.M. had put his right hand

behind his back when instructed to do so and was beginning to put

his left hand behind his back, just as he claimed in his deposition

testimony, when Chavis preemptively grabbed and twisted his harm,

causing him pain, causing an automatic stiffening of his arm and

rotation of his body along the vector of force in a reflexive

attempt to alleviate the pain he felt.                Finally, a juror might

well observe that Chavis's instruction to M.Y.M. to "get on the

ground" was repeated in rapid succession as M.Y.M. was off balance,

with Chavis holding one or both of his hands behind his back, in

a position in which it may well have difficult or impossible for

M.Y.M. to comply.      Failure to comply with a command with which it

is not possible to comply cannot be treated as "disregarding" the

command or as probabilistic evidence of an intent to evade arrest


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by flight.   See Smith v. Ray, 781 F.3d 95, 105-06 (4th Cir. 2015)

(''[I]t was of course possible that the suspect could take off

running . . . However, on the facts before us at this stage, there

was no reason for Ray to expect that the previously compliant

suspect would suddenly take that course.").

     Thus, the entire substance of Chavis's argument as to the

third Graham factor is predicated on highly contested factual

claims--claims about which it is not only possible for a reasonable

juror to disagree     but about    which,    in the   Court's judgment,

Chavis's interpretation of events strains credulity, making it

likely that the third Graham factor would be resolved in M.Y.M.'s

favor.   M.Y.M.'s    initial   compliance,    his   exclamation ''you're

trying to hurt me" at the 0:55 mark, and Chavis's choice not to

explain to M.Y.M. that he was being handcuffed and not to give

M.Y.M. more of an opportunity to comply with the instruction to

put his hand behind his back all indicate that a juror could very

well, on the evidence presented, draw the conclusion that no

objectively reasonable officer would have believed M.Y.M. to be

attempting to evade arrest by flight or to be resisting Chavis

with anything more than a reflexive resistance to pain.

     In sum, each of the three Graham factors points in favor of

M.Y.M.'s claim that Chavis used excessive force         in violation of


the Fourth amendment in taking him to the ground.




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IV.   Quantum of Force Used

      In the summary judgment briefing and at the hearing, Chavis

repeatedly argued that he must prevail on summary judgment because

M.Y.M. does not articulate with adequate detail precisely how he

was thrown to the ground.     But that claim is itself belied by the

ample evidence available in Chavis's body camera footage, along

with M.Y.M.'s statements in his deposition and his assertions in

the Complaint and in his memorandum in support of his opposition

to the motion for summary judgment.       That evidence, in aggregate,

is substantial.   It includes the following pieces of evidence:

  • M.Y.M.'s first description of the events in his deposition
      states that ''[Chavis] he threw me over his, like, shoulder
      and stuff, and, like, he landed on top of me . . .               ECF
      No. 22-2 at 74.


  • M.Y.M.'s second description, in answer to the question "when
    Officer Chavis took you to the ground, how did he do it?",
    was to say: "He threw me." Id. at 77.

  • Later, M.Y.M. again says that Chavis "threw" him, and that he
    was not simply tackled. Id. at 78.

  • In his final description in the deposition, M.Y.M. says that
    Chavis "put my hands behind my back then he overleaped
    my . . . and threw me straight on the ground . . . ." Id. at
      109.


  • In the portion of the body camera footage immediately after
    M.Y.M. has been taken to the ground, at 1:40, he says to
    Chavis, "I don't know why you had to throw me."

  • At another point in the body camera footage, at 7:30, Chavis
    tells a Sergeant he is speaking to on the phone about the




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     event and says, ''he was pulling hard from me, so I took him
     [i.e., M.Y.M.] to the ground."

  • Later in the video, at 9:58, Chavis tells someone else on a
     phone call that he "ended up having to take him [i.e., M.Y.M.]
     to the ground."

  • At the end of Chavis's body camera footage, at 17:47, Chavis
     describes to two other officers who have arrived on the scene,
     telling them that M.Y.M. was hurt when, "as we both fell
     together . . . I don't know. . . as he fell, his neck and his
     head and everything just went over all my gear."        At his
     deposition, Chavis professed not to recall what he had meant
     by that. His counsel likewise offered no account of what it
     meant for M.Y.M.'s head to have "[gone] over his gear."
     M.Y.M.'s attorney proposed the interpretation that it
     referred to Chavis's having picked up M.Y.M. and swung him
     across his {i.e., Chavis's) body in throwing him to the
     ground.   There are certainly other interpretations of the
     expression, but in Chavis's deposition and at the hearing,
     Chavis offered no alternative.


     A final piece of evidence is inferential but nevertheless

important.     A reasonable juror might observe that at 1:00 in the

video, Chavis has succeeded in rotating M.Y.M.'s body so that he

is standing more or less still and more or less straight up with

both hands clearly visible behind his back, and oriented so that

Whitepine Road is to his right.         The screen is then dark for

approximately 2-3 seconds as Chavis's camera is pressed against

M.Y.M.'s back, and when M.Y.M. is next clearly visible, now on the

ground (at 1:07), he is lying fully stretched out on the ground

having rotated almost exactly 180 degrees, with Whitepine Road now

on his left.




10 The video from the body camera would permit a finding that M.Y.M.
was not "pulling hard" from Chavis.

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      Taking all of this information into account, a reasonable

juror could conclude that the best explanation for the 180 degree

rotation of M.Y.M.'s body, in combination with a broken collar

bone, is that Chavis picked M.Y.M. up and threw him to the ground

in a swift rotating motion.      A reasonable juror could take this

inference to be strengthened by M.Y.M.'s consistent use of the

term "throw" to describe how Chavis took him to the ground, from

the very first moments after he was taken to the ground through

his deposition, and by Chavis' statement that "M.Y.M.'s head and

everything just went over all my gear."

      Chavis's counsel argued that the span of time in the video

during which the screen is black is not sufficiently long to allow

for Chavis to execute a throw.             But that is a quintessential

question of fact, and in the absence of any sort of proof as to

the   claim,   mere   say-so   does    not   in   any   way   disprove   the

plausibility of M.Y.M.'s account of the events at issue.

V.    Applicable Case Law

      Fourth Circuit case law clearly establishes that reflexive,

or "automatic," resistance is not uncommon, should be anticipated

by police officers, and does not justify the use of substantial

force in response absent some additional reason to believe that

force is necessary.    Similarly, Fourth Circuit case law establishes

that, when an officer gives a suspect commands that are effectively

impossible to comply with, failure to comply with those commands

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cannot then be used to justify the use of additional force.                 See

Smith V. Murphy, 634 Fed. Appx. 914 (4th Cir. 2015) ("As for the

third Graham factor, resistance from Smith could be characterized

as instinctive, and we have twice concluded that such reactions do

not constitute active resistance.") (citing Smith v. Ray, 781 F.3d

95 (4th Cir. 2015) and Rowland v. Perry, 41 F.3d 167 (4th Cir.

1994)).

     At the hearing on the Motion, Chavis's counsel argued that

Pegg v. Hernberger stands for the proposition that throwing a

detainee to the ground is a per se permissible degree of force.

But that assertion misapprehends the substance of the case law

governing   the   use   of   force.        Graham   makes   clear    that   the

permissible quantum of force is relativized to the particular

features of   the   situation in      which the force       is used.     Thus,

throwing a suspect to the ground to detain him is in some cases

permissible and in some cases impermissible, just as using deadly

force is in some cases permissible and in some cases impermissible.

The question is thus whether the degree of force alleged to have

been used in this case was reasonable relative to the context in


which it was used.      See Smith v. Ray, 781 F.3d at 106 n.8 ("Of

course, we do not hold that the level of force Ray employed here

was per se    unconstitutional in all circumstances.                Rather, we

merely hold that any reasonable officer would have known that, on




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the    particular facts of        this    case, Ray's    actions        constituted

excessive force,").

       Rowland v. Perry and Smith v. Ray both involve resistance

that is automatic but that does not absolve the officer of using

excessive force.      The legally relevant parallels between those

cases and this case are substantial enough that Chavis was clearly

put on notice that, under the circumstances, the kind of force

that    a   jury   could   find     was    used    against    M.Y.M.      here    is

constitutionally unreasonable.

       Rowland involved a "scuffle between a police officer and a

citizen over a lost five dollar bill."               41 F.3d at 167.        On the


plaintiff's version of events in that case, the officer, "without

any provocation . . . grabbed his collar and jerked him around,

yelling harshly as he did so."                  Id. at 172.       The plaintiff,

"[f]rightened, . . . instinctively tried to free himself."                        Id.

The "scuffle" continued until the officer used "disabling force,"

id. at 171, by pulling on the plaintiff's leg and "wrenching the

knee until it cracked," id. at 172, whereupon the struggle ceased.

       In defending himself, the officer in Rowland urged the Court

to employ "what amounts to a segmented view of the sequence of

events."     Id. at 173.    On this approach, the Court would look to

the    officer's   first   grabbing       the   plaintiff    by   the    collar    in

response to an attempt to flee, and then would note the escalation

of use of force in response to the plaintiff's "resistance."                      Id.

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"Viewed in this way," the officer argued, "each distinct act of

force becomes reasonable given what [he] knew at each point in

this progression."         Id.

      But the         Fourth   Circuit rejected             this    segmented      approach,

holding that "[a]rtificial divisions in the sequence of events do

not aid a court's evaluation of objective reasonableness," id.,

and   that   reasonableness          of    a   seizure      should    be    assessed "in a

larger perspective."           Id.    "When all the factors are considered in

toto,"    the    Court    concluded,           "it   is   impossible        to   escape   the

conclusion that a man suffered a serious leg injuiry over a lost

five dollar bill."             Id. at 173-74.          In drawing this conclusion,

the Court again emphasized that there was "[no] real evidence that

this relatively passive, retarded man was a danger to the larger,

trained      police     officer,"         id. at     174,    and     that    the   plaintiff

"resisted only to the extent of instinctively trying to protect

himself."       Id.


      The events in Smith v. Ray in many ways parallel both Rowland

and this case.          In Smith, an officer was helping a citizen find

his missing juvenile stepson.                  Believing the stepson to be inside

a residence, the officer knocked on the door, which was answered

by Smith.       781 F.3d at 98.

      After Smith indicated to the officer that she would go inside

to look for someone, the officer reached over Smith and forced the

door shut, then grabbed Smith's arm.                      Id.      When Smith pulled her

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arm away and ''asked what he was doing," the officer, "[r]ather

than responding       verbally,   . . . tried    to grab Smith again."

Id.    While pulling away. Smith "called Ray--who is white--a n***r,"

id., but did not run away.         The officer then threw Smith to the

ground, still without offering further explanation.          With Smith on

the ground, the officer then began ordering her "to show him her

arms."    Id.   Smith was unable to comply because she was using her

left arm "to press against the ground to try to relieve pressure

from her chest."      Id.   The officer then punched her several times

until he eventually pulled Smith's other arm out and handcuffed

her.     Id. at 99.    At no point in the interaction did the officer

"explain[] that Smith was subject to an investigative detention or

under arrest."        Id.   Nor did Smith ever "str[ike] out at" the

officer.    Id.


       Here, as in Ray, M.Y.M. never struck out at Chavis, and Chavis

never explained to M.Y.M. that he was under arrest, responding to

his question as to why he was being instructed to put his hands

behind his back by saying "because I said so."           Likewise, in Ray,

the plaintiff "pulled her arm away, and . . . asked what [the

officer]    was   doing,"    after   which,   [r]ather    than   responding

verbally," the officer "tried to grab [the plaintiff] again."           781

F.3d at 98.     The plaintiff in that case explained that, "[a]1though

[she] initially pulled [her] arm away, [she] did not run [but]

stayed and questioned [her] arrest."           Id. at 105.       Here, too,

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M.Y.M. claims reflexively to have pulled his arm in response to

pain caused by Chavis's grip.         Without explaining that M.Y.M. as

being detained or arrested, Chavis then continued to exert painful

force on M.Y.M.'s arm--M.Y.M. can be heard in the video saying

"you're trying to hurt me" at the 0:55 mark.          By the time Chavis

begins commanding M.Y.M. to "get on the ground," he has M.Y.M.'s

right arm pulled and twisted behind his back.        While it is unclear

if M.Y.M.'s left arm is fully secured by Chavis's grip, it is also

behind his back just before M.Y.M. is taken to the ground.              In his

deposition,   referring   to   this    moment,   M.Y.M.   said   "How    am   I

supposed to get on the ground while somebody's grabbing my hands,

trying to put my hands behind my back[?]"

     On this record, a jury could reasonably find that Chavis did

not give M.Y.M. a real opportunity to comply with his request

before applying force to M.Y.M.'s arm because Chavis began twisting

the arm before M.Y.M. had the chance to get both arms behind his

back; that M.Y.M.'s resistance was, to use Rowland's language,

"automatic" in response to Chavis's painfully twisting his arm;

and finally, that Chavis did not give M.Y.M. a real opportunity to

comply with his order to "get on the ground" before intentionally

picking up M.Y.M. and throwing him to the ground with substantially

greater force than was necessary.          A juror might even conclude,

given knowledge of Chavis's extensive background in jujutsu, that

Chavis had instinctively resorted to an agressive throw learned in

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that martial art rather than the bear-hug technique             that his

attorney described at the hearing on this matter.        As evidence for

these conclusions, a juror could look to M.Y.M.'s later statement

in the body camera footage that he was "scared," as well as the

other ways in which M.Y.M. demonstrates cooperation, such as in

immediately standing up when told to do so by Chavis and in

answering Chavis's questions.      To be sure, a jury could reasonably

reach other conclusions--but there is ample evidence in the record

so far compiled that would allow a reasonable juror to conclude

that Chavis's use of force was unlawful.


     Chavis makes much of supposed parallels between this case and

Pegg v. Herrnberger, 845 F.3d 112 (4th Cir. 2017), in which an

officer was granted qualified immunity after throwing a suspect to

the ground.   But the differences between this case and Pegg are

substantial and do not cast doubt on the parallels already noted

between this case and Rowland and Smith, which were adequate to

give Chavis clear notice of the unreasonableness of the force he

is alleged to have used.

     The events in Pegg occurred in the context of a traffic stop,

      the driver, did not respond to an officer's "call[ing] out"

to stop his car.    845 F.3d at 116.     When the driver was asked for

identification,    the   officer   believed   that   Pegg   "reached   for

something between his legs."        Later, when the officer was with

Pegg behind the car, he "demonstrated how Pegg should lock his

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hands together" and asked him to do so.          Pegg then failed to follow

the instruction.    Only then did the officer grab his arm, at which

point Pegg turned his body around and questioned the officer.                The

officer then used a modest initial degree of force, pushing Pegg

against the car in an effort to handcuff him, which Pegg further

resisted.   Id.    at 116.     Only then did the officer take Pegg to

the ground with a move that caused ''minor scrapes and abrasions."

Id.


      Here, by contrast, Chavis did not instruct M.Y.M. on how to

comply and, according to one permissible view of events, did not

even give M.Y.M. the opportunity to comply with his command before

applying force.         M.Y.M. also had not disregarded an officer's

initial command, as the officer may have perceived Pegg to have

done when he did not pull over as instructed.           Finally, the quantum

of force used was clearly different, insofar as Pegg suffered de

minimis injuries while being thrown on a roadway, while M.Y.M.

suffered a broken clavicle while being taken down in a grassy area.

      From the record so far compiled, a reasonable juror could

reach different views as to how, precisely, Chavis took M.Y.M. to

the ground. If Chavis and M.Y.M. slipped while Chavis was trying

to arrest M.Y.M. then there was not, per se, any use of force in

bringing M.Y.M. to the ground, and so a fortiori there was no

excessive   use    of    force.     If,     on   the   other      hand,    Chavis

intentionally     and   violently   threw   M.Y.M.     to   the   ground   using

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substantially more force than was necessary, that would run afoul

of the standard set by Supreme Court and Fourth Circuit case law.

Because at the summary judgment stage all factual disputes must be

resolved in favor of the nonmoving party, the Court finds that

there is a genuine dispute as to a material fact respecting the

degree of force used, thereby presenting the need for the jury to

decide that question.      Also, as a matter of law, it was clearly

established before the events at issue in this case that the force


that, according to one permissible view of the evidence, Chavis is

alleged to have used in the context in which he is alleged to have

used it is excessive under the standards set by the Fourth Circuit

and the Supreme Court of the United States.

                               CONCLUSION


     Ascertaining the truth of the matter is a question of fact

that must be tried before a jury.            For the reasons given above,

Chavis's   Motion   will   therefore    be    denied.   Count   II   of    the


Complaint stated a tort law claim under the law of Virginia.              Both

parties agree that this claim is governed by the outcome of the

§ 1983 claim.     Consequently, summary judgment on this claim will

likewise be denied.


     It is so ORDERED.


                                                /s/
                            Robert E. Payne
                            Senior United States District Judge
Richmond, Virginia
Date:   January      , 2022


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